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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TENNESSEE


FUSION ELITE ALL STARS, et al.,

                 Plaintiffs,
                                       Case No. 2:20-cv-02600-SHL-cgc
v.
                                       JURY TRIAL DEMANDED
VARSITY BRANDS, LLC, et al.,

                 Defendants.


JONES, et al.,

                 Plaintiffs,
                                       Case No. 2:20-cv-02892-SHL-cgc
v.
                                       JURY TRIAL DEMANDED
BAIN CAPITAL PRIVATE EQUITY, et al.,

                 Defendants.


AMERICAN SPIRIT AND CHEER
ESSENTIALS, INC., et al.,
                                       Case No. 2:20-cv-2782-SHL-cgc
                 Plaintiffs,
                                       JURY TRIAL DEMANDED
v.

VARSITY BRANDS, LLC, et al,

                 Defendants.


  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ JOINT MOTION TO
 FACILITATE COORDINATION OF DEPOSITIONS IN THE RELATED ACTIONS
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        Plaintiffs Fusion Elite All Stars, Spirit Factor LLC d/b/a Fuel Athletics, Stars and Stripes

Gymnastics Academy Inc. d/b/a Stars and Stripes Kids Activity Center, Kathryn Anne Radek,

Lauren Hayes, and Janine Cherasaro (collectively, “Fusion Elite Plaintiffs”); Plaintiffs Jessica

Jones, Michelle Velotta, and Christina Lorenzen (collectively, “Jones Plaintiffs”); and Plaintiffs

American Spirit and Cheer Essentials, Inc., Rockstar Championships, LLC, Jeff & Craig Cheer,

LLC, d/b/a Jeff and Craig Camps, and Ashley Haygood (collectively, American Spirit

Plaintiffs”) hereby respectfully submit this Memorandum of Law in Support of their Joint

Motion to Facilitate Coordination of Depositions in the above-captioned matters

(collectively, the “Related Actions”).

I.      INTRODUCTION

        On January 26, 2021, this Court ordered the in Fusion Elite, Jones, and American

Spirit Plaintiffs (collectively, “Plaintiffs”) to coordinate their discovery efforts and

“minimize duplication of deponents and questions at depositions.” (Order Establishing

Plaintiffs’ Discovery Coordination Committee, No. 20-cv-2600, Dkt. 93.) Pursuant to the

Order, Plaintiffs have coordinated, wherever feasible. For example, Plaintiffs are discussing

and planning depositions, noticing common witnesses, and scheduling Fed. R. Civ. P.

30(b)(1) and 30(b)(6) depositions. Part of that coordination involves the consolidation and

allocation of deposition time for shared witnesses in the Related Actions.

        To that end, Plaintiffs in the three Related Actions have discussed and agreed to a

procedure that would enable them to schedule a single deposition for particular witnesses

and to permit all parties to attend and use the transcripts and exhibits from those depositions

and to provide and allocate time for Plaintiffs in each case to question common witnesses on

non-overlapping issues. However, this is an antitrust case involving a complex record of business

transactions and communications occurring over the course of many years. And although All
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Star Cheer is a common thread running through the three Related Actions, the cases are not

identical.

       The Related Actions assert claims and injuries with respect to different markets and

affecting different groups of consumers and businesses. See infra Section II. As a result, the

depositions require more than seven hours to question overlapping witnesses with

knowledge relevant to all three cases. Under the Federal Rules, Plaintiffs are arguably

allowed to serve a notice of deposition in each Related Action for each common witnesses,

thereby requiring those witnesses to sit for potentially two or three separate Fed. R. Civ. P.

30(b)(1) depositions (for a total of 14 to 21 hours of questioning each). Plaintiffs have met

and conferred and agreed to a stipulation in order to minimize that burden and promote

efficiency. The proposed stipulation would consolidate multiple depositions totaling over 20

hours into a single deposition of 9 to 11 hours in length. With respect to Fed. R. Civ. P.

30(b)(6) depositions noticed in more than one Related Action, the stipulation would provide

for an additional three hours for each notice served. 1 Given the many non-overlapping

claims in the Related Actions and the various parties involved across the Related Actions,

Plaintiffs’ proposal provides for efficient discovery, minimizes costs and burdens, and is

imminently reasonable.




1
  The Fusion Elite Plaintiffs and Defendants Varsity Brands, LLC, Varsity Spirit, LLC, and
Varsity Spirit Fashion & Supplies, LLC (collectively, “Varsity”) and U.S. All Star Federation,
Inc. (“USASF”) previously agreed to limit Varsity’s 30(b)(6) deposition to 15 hours and
USASF’s 30(b)(6) deposition to 7 hours. (No. 20-cv-2600, Dkt. 89 at 3.) However, that
agreement is limited to depositions noticed only in the Fusion Elite Action, and a deposition
protocol has not yet been agreed to in the Jones or American Spirit Actions.


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         Defendants 2 are unwilling to agree and have rejected it out of hand. Defendants

instead seek to treat the Related Actions as a single case and, regardless of the complexity of

this action, insist that Plaintiffs should be limited to a single, seven-hour deposition. (Ex. 1

at 1.)

         Plaintiffs jointly seek entry of a Proposed Order, submitted herewith, allowing for

additional time to depose witnesses whose depositions are noticed by more than one group

of Plaintiffs in the Related Actions. 3 Such an order is consistent with protocols followed in

other antitrust cases of similar—and arguably smaller—scales, see infra Section III, and

advances the interests of justice and principles of sound discovery and case management.

See Fed. R. Civ P. 1 (providing that the Federal Rules of Civil Procedure “should be

construed, administered, and employed . . . to secure the just, speedy, and inexpensive

determination of every action and proceeding”).

II.      BACKGROUND

         The Complaints in the Related Actions share the allegation that Varsity has, in concert

with USASF, monopolized the All Star Competition and All Star Cheer markets (collectively,

the “All Star Markets”). (E.g. No. 20-cv-2600, Dkt. 56 ¶¶146, 156-69, 189, 194, 217.)

         Fusion Elite Plaintiffs seek to represent a class of entities and natural persons that directly

paid Varsity for: (a) registration, entrance, spectator, or other fees and expenses associated with

participation in one or more All Star competitions or (b) All Star apparel. (Id. ¶40.) This Court



2
 The term “Defendants” refers to all entities and individuals named as defendants in the Related
Actions.
3
  Though motions for additional deposition time typically arise after the first seven hours of
testimony are taken, anticipatory motions are permitted under circumstances such as these. MRP
Properties, LLC v. United States, No. 17-11174, 2020 WL 1640161, at *2 (E.D. Mich. Apr. 2,
2020).


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denied, in full, Varsity and USASF’s motion to dismiss Fusion Elite Plaintiffs’ complaint on

August 26, 2021. (No. 20-cv-2600, Dkt. 141.)

       The Jones case contains a number of additional claims and names additional parties as

Defendants. Plaintiffs further allege that the defendants in their action—Varsity, USASF, Jeff

Webb, Charlesbank Capital Partners LLC (“Charlesbank”), and Bain Capital Private Equity

(“Bain”) (collectively, the “Jones Defendants”)—conspired to form an exclusionary scheme to

monopolize the markets for cheer competitions, cheer camps, and cheer apparel (the “Jones

Markets”). (No. 20-cv-2892, Dkt. 1 ¶¶1-6, 16-22, 117.) The Jones case is therefore substantially

broader. The Jones Plaintiffs seek to represent parents and families of athletes who participated

in the sport of competitive cheer through All Star gyms or schools and who indirectly paid more

than they otherwise would have for goods and services in the Jones Markets absent the Jones

Defendants’ anticompetitive conduct. (Id. ¶¶1-6, 29.)

       The American Spirit Plaintiffs bring additional allegations related to the All Star Gyms,

as well as monopolization of markets for recreational and scholastic cheerleading and athletic

equipment, band uniforms, graduation regalia, and cheer on behalf of parents, others similarly

situated, and the entities referenced in the American Spirit complaint. In addition to their

Sherman Act claims, the American Spirit Plaintiffs bring claims under federal and state RICO

statutes. (No. 20-cv-2782, Dkt. 1 ¶¶1-2.) The American Spirit Plaintiffs also name BSN Sports,

LLC; Stanbury, LLC; Herff Jones, LLC; Varsity Intropa Tours, LLC; and the USA Federation

for Sport Cheering as defendants. (Id. ¶¶9-21.)

       While there are witnesses common to each of the case and there is some overlap in

relevant evidence and proof, there are substantial differences. For example, each of the Related

Actions has both overlapping and also distinct claims arising out of distinct acts in different




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markets affecting different parties. Plaintiffs in the Related Actions have internally agreed to

certain coordination measures, including communicating in advance of all depositions to

minimize duplicative questions. In order to promote efficiency and coordination, Plaintiffs have

met, conferred and agreed to a reasonable process to streamline depositions and to provide for

the use of the depositions taken in each of the Related Actions. The proposed stipulation would

permit Plaintiffs in each case to attend and use the transcripts and exhibits from one another’s

depositions, (see Proposed Order at ¶¶4-5), and to coordinate and take a single deposition of

common witnesses with the requisite time needed to address non-overlapping issues, (see

Proposed Order at ¶¶6-7).

        The relevant overlapping percipient witnesses include numerous current and former

Varsity employees. Many of them have a decade or more of knowledge regarding Varsity’s

operations. They have also served on various USASF boards and committees, and they are

custodians for thousands of documents already produced in Fusion Elite. 4 Their knowledge of



4
 While Varsity and USASF have made productions related to Fusion Elite Plaintiffs’ claims,
productions have largely not yet commenced at all related to the non-overlapping claims in the
Jones and American Spirit Actions.
    •   In the Jones Action, four motions to compel are pending against the Jones Defendants—
        including Varsity, Jeff Webb, Bain, and Charlesbank—seeking certain custodians,
        application of certain search terms, and production on certain requests and time periods.
        (No. 2:20-cv-02892, Dkts. 100, 101, 102, and 103.) To the extent the Jones Plaintiffs
        have access to productions and custodians relevant to their claims and allegations, they
        are making best efforts to participate and complete the depositions on the topics where it
        is possible to do so and where sufficient custodians and productions exist. To the extent
        document production has not occurred or remains in dispute, Jones Plaintiffs reserve their
        rights to reserve their time and continue any depositions where custodians or documents
        on claims are not yet produced or, in the alternative, where any disputes as to those
        documents are not yet resolved.
    •   Regarding several Defendants and topics, the American Spirit Plaintiffs may not obtain
        discovery until the Court denies Defendants’ motions to dismiss American Spirit. (No.
        2:20-cv-02782-SHL-cgc, Dkt. 132 at *4). Consequently, the American Spirit Plaintiffs



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the issues in this litigation is “particularized and distinct.” In re Intel Corp. Microprocessor

Antitrust Litig. (“Intel”), No. CIV. A. 05-441-JJF, 2008 WL 5377979, at *1 (D. Del. Dec. 18,

2008).

III.       ARGUMENT

           To enable Plaintiffs in all three Related Actions to coordinate common depositions and

avoid noticing duplicative percipient witness and 30(b)(6) depositions, Plaintiffs must have the

ability to attend, ask questions at, and use testimony from depositions noticed in any of the other

Related Actions. If this is not permitted, Plaintiffs in each of the Related Actions will each have

to notice their own depositions. If this were the case, many witnesses would be subject to 3

separate depositions for a cumulative 21 hours. Plaintiffs’ goal is to avoid this scenario and

coordinate depositions to avoid duplicative questions and wasting the time of witnesses, the

parties, and counsel. Still, it is imperative that coordinating Plaintiffs be allowed sufficient time

to develop the evidence to which they are entitled to prove their case. The parties should be

permitted, at each deposition, to question witnesses about issues specific to their cases, to the

extent possible.

           Plaintiffs will work together to coordinate in advance of all depositions to minimize

duplication of questions and promote the efficient use of the parties’ and the witnesses’ time.



           reserve their right to obtain further discovery (including further deposition testimony) if
           and when the Court denies Defendants’ motions to dismiss the American Spirit
           complaint.
       •   Fusion Elite Plaintiffs’ allegations regarding the Varsity and USASF Defendants’
           conduct concerning sexual abuse and background checks are subject to a Motion to
           Strike, and discovery concerning those allegations is currently paused. Fusion Elite
           Plaintiffs similarly reserve their rights to seek further time, if necessary, and continue any
           depositions to pose questions regarding these topics.
Any continued depositions will be subject to the time limits agreed upon by the parties or
ordered by this Court.


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Additionally, though, given the different markets, parties, and interests involved, each plaintiff

group will need to ask distinct questions about distinct markets or conduct affecting distinct

allegedly injured parties. For instance, the Jones Plaintiffs will need to question witnesses about

cheer camps and scholastic cheer apparel and competitions, in addition to the All Star Cheer.

Similarly, the Court entitled the American Spirit Plaintiffs to question witnesses about (a) athletic

equipment, (b) band uniforms, and (c) graduation regalia if and when it denies any of

Defendants’ motions to dismiss in American Spirit. (No. 2:20-cv-02782-SHL-cgc, Dkt. 132 at

4). Even now, however, the American Spirit Plaintiffs are entitled to discovery specific to the

claims of the apparel companies, independent competition production companies, and

independent camp production companies they represent. Indeed, these companies are

unrepresented in any of the other actions. This will require an allocation of additional time

beyond the seven hours that Defendants agreed to for just the Fusion Elite Action.

       Had discovery in the Related Actions not been coordinated, overlapping witnesses would

have been subject to three separate seven-hour depositions, one for each case. Plaintiffs proposed

the following terms to Defendants after noticing the depositions of two former Varsity

employees:

       Plaintiffs in any of the Related Actions may serve a notice of deposition with
       respect to any deposition noticed pursuant to Rule 30(b)(1) by Plaintiffs in one of
       the other Related Actions. For each additional notice that is served, Plaintiffs shall
       receive two additional hours to examine Defendants’ Witnesses, in addition to the
       time provided in the Discovery Order, Doc. No. 89 (seven hours), for a total of 11
       hours should Plaintiffs in all three Related Actions notice the deposition. The
       additional time requirements set forth herein will apply to depositions first noticed
       by Plaintiffs in any of the Related Actions.

(Proposed Order at ¶6.) This reduces the total time Plaintiffs would have been allotted under

Rule 30(d)(1), for depositions noticed in all three Related Actions, by 10 hours. Defendants

rejected this proposal and took a position that ignores the realities of discovery in antitrust



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matters of this size and scope, unliterally declaring that “there will not be more than one

deposition of any individual in the three cases without leave of court” and demanding that no

deposition exceed seven hours. (Ex. 1 at 1, 2.) Defendants’ position places far greater restrictions

on depositions than those imposed by Rule 30.

       “Although the rule generally limits a deposition to a single day of seven hours, on its

face, the rule provides for extensions beyond that presumptive limitation.” Dow Chem. Co. v.

Reinhard, No. 07-12012-BC, 2008 WL 1735295, at *3 (E.D. Mich. Apr. 14, 2008). Rule

30(d)(1) specifically instructs, “The court must allow additional time consistent with Rule

26(b)(1) and (2) if needed to fairly examine the deponent or if the deponent, another person, or

any other circumstance impedes or delays the examination.” Fed. R. Civ. P. 30(d)(1). The

advisory committee notes further explain that additional time may be justified where numerous

and lengthy documents are involved, in multi-party cases, and where the witness’s lawyer wants

to examine him or her. Id.; Dow Chem., 2008 WL 1735295, at *3. “[I]t is precisely the facts and

circumstances of any given litigation which must be considered in determining whether an

extension of the time for deposition is ‘needed to fairly examine the deponent.’” Intel, 2008 WL

5377979, at *2.

       As in Intel, the allegations made in the Related Actions “touch upon the entirety of the

[cheerleading] industry” as well as youth sports, marching bands, and academic regalia. Id. at *4.

“As a suit arising under the antitrust laws, it is not simply an action between private litigants

seeking to resolve personal grievances but rather one potentially having broad consequences

affecting large numbers of customers and millions of consumers.” Id. The conduct at issue in the

Related Actions goes back to at least 2004 and involves billions of dollars in sales by Varsity in

large national markets. (E.g. No. 20-cv-2600, Dkt. 56 ¶¶38, 59, 70-71, 73, 168, 197); see also




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United States v. City of Evansville, No. 09-cv-00128, 2012 WL 3867134, at *2 (S.D. Ind. Sept. 5,

2012) (“Allegations of damages spanning many years is a potential justification for allowing

additional time.”); MRP Properties, 2020 WL 1640161, at *2 (allowing a defendant ten hours

per deposition “to question the experts regarding overarching policies and historical events, as

well as detailed information about twelve separate refineries”).

       Recognizing that the scope of these allegations would require discovery beyond what is

contemplated by the Federal Rules of Civil Procedure, Fusion Elite Plaintiffs, Varsity, and

USASF submitted a stipulation, which this Court approved, allowing each side 55 non-expert

depositions, including one corporate deposition of 15 hours, for Varsity Defendants and one

corporate deposition of 7 hours for USASF. (No. 20-cv-2600, Dkt. 89 at 3.) Concerning

30(b)(1) depositions, the stipulation provides, consistent with Rule 30(d)(1), that “no witness

shall be deposed for more than one day of 7 hours.” (Id.) The stipulation does not, however,

contemplate the number of hours permitted when a party in a separate matter, such as one of the

Related Actions, separately notices a deposition of the same witness. Nor does the Order

Establishing Plaintiffs’ Discovery Committee allocate or limit deposition time. It simply instructs

Plaintiffs to “minimize duplication of deponents and questions at depositions,” which Plaintiffs

are seeking to do through this Motion and the Proposed Order. (No. 20-cv-2600, Dkt. 93 at 5.)

Plaintiffs in the three Related Actions will require more than seven hours for the depositions of

witnesses with knowledge relevant to more than one of the Related Actions, to the extent they

are noticed in multiple actions. To be clear, for depositions only noticed in one of the Related

Actions, the seven-hour limit would govern, and no additional time would be sought, for

Plaintiffs’ questions.




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       Plaintiffs’ request for additional time is consistent with deposition protocols in other

antitrust cases. See, e.g., Intel, 2008 WL 5377979, at *4 (permitting depositions between 14 and

22.5 hours long for six fact witnesses); Ex. 2 at 5, In re Hard Drive Suspension Assemblies

Antitrust Litig., No. 19-md-02918, Dkt. 287 (N.D. Cal. Nov. 6, 2020) (generally permitting

depositions up to 9 hours when noticed by 3 separate groups of plaintiffs, with two sets of non-

overlapping claims); Ex. 3 at 7, In re Qualcomm Antitrust Litig., No. 17-md-02773, Dkt. 305

(N.D. Cal. Jan. 24, 2018) (generally permitting depositions up to 14 hours for all Apple and

Qualcomm employees and all non-party deponents); Ex. 4 at 2, In re Cathode Ray Tube (CRT)

Antitrust Litig., No. 07-cv-05944, Dkt. 1738 (N.D. Cal. June 17, 2013) (permitting depositions

up to 15 hours when noticed by two separate groups of plaintiffs). As in these antitrust cases, the

claims here involve multiple classes of direct and indirect purchasers. The Related Actions make

certain similar allegations. Both the Jones and American Spirit matter involve markets that are

not at issue in Fusion Elite. They also involve different class members and different transactions.

       Defendants also ignore the difficulties created by the COVID-19 pandemic. Many, if not

all, of the depositions will take place via remote video technology. Counsel for Fusion Elite

Plaintiffs are located in Washington, DC; Philadelphia; and New York. Counsel for Jones

Plaintiffs are in San Francisco; Seattle; Kansas City; Minneapolis; Memphis; and other locations.

Counsel for American Spirit Plaintiffs are in Alpharetta, Georgia. Most of the fact witnesses are

located in Memphis, although some of them have temporarily relocated during the pandemic.

Thus, while Plaintiffs are working diligently with vendors to ensure that these remote

proceedings run smoothly, technical difficulties are bound to arise, and sharing documents

through computer screens will inevitably consume more deposition time than usual. Under these

circumstances and given the scope of the Related Actions and the witnesses’ knowledge,




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Plaintiffs’ proposal will reasonably and fairly allow the parties to examine deponents, as Rule

30(d)(1) permits, without any undue burden on Defendants. The additional limited number of

hours Plaintiffs are requesting should be permitted.

IV.    CONCLUSION

       In order to facilitate efficient and non-duplicative depositions in the Related Actions, as

called for by the Order Establishing Plaintiffs’ Discovery Coordination Committee (No. 20-cv-

2600, Dkt. 93), Plaintiffs respectfully request the entry of a deposition coordination order.

The scope of litigation before this Court is broad, and Plaintiffs are entitled to a full and fair

opportunity to depose witnesses with relevant knowledge. Plaintiffs’ proposal—which will allow

for an additional four hours of questioning, across all three Related Actions, for 30(b)(1)

depositions and an additional six hours for 30(b)(6) depositions noticed in all three Related

Actions—is restrained and reasonable under the circumstances. For these and the foregoing

reasons, Plaintiffs respectfully request that this Court grant their motion and implement the

necessary coordination provisions for depositions noticed, including an additional two hours

of questioning for each additional notice of a 30(b)(1) deposition and an additional three

hours for each additional notice of a 30(b)(6) deposition served in the Related Actions.


Dated: October 19, 2021                    Respectfully submitted,

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                              Class, the Competitive Recreational, College, High
                              School or Junior High School Student Parent Class, the
                              Apparel, Athletic Equipment and Merchandise Class,
                              and the Cheer Camp Market Class

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